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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.

         Plaintiffs,

v.                                     CIVIL ACTION NO.: 1:17-cv-02989-AT

BRAD RAFFENSPERGER, ET AL.

         Defendants.



  LATHAM RESPONSE TO COURT REQUEST FOR INFORMATION
          REGARDING RESPONSE TO SUBPOENAS

        COMES NOW Cathleen Latham, a nonparty to this action, and files this

Response to this Court’s September 22, 2022 Order, showing the Court as

follows:


     1. Plaintiffs have described in their Response (filed this morning) the

        documents produced by Mrs. Latham.

     2. Plaintiffs’    assumptions   that   Mrs.   Latham    has   responsive

        communications or documents that she has not produced in response to

        her nonparty subpoenas is simply wrong. Mrs. Latham has produced all

        communications that she has regarding the events of January 7, 2021 in
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          Coffee County. She has no knowledge of or documents relating to alleged

          later visits to Coffee County by Doug Logan and/or Cyber Ninjas.

      3. Specifically, an independent IT vendor has verified that Mrs. Latham

          does not have any texts or Signal communications that she has not

          produced with anyone at SullivanStrickler (Paul Maggio, Jennifer

          Jackson, Karuna Naik, Jim Nelson) or Scott Hall, who are the

          individuals who organized and some of whom apparently performed

          whatever forensic activities occurred in Coffee County on January 7,

          2021.

      4. Additionally, the undersigned has personally searched Mrs. Latham’s

          email 1 for responsive, nonprivileged communications and documents

          with each of the individuals listed in Plaintiffs’ Response to Court

          Request for Information Regarding Latham’s Subpoena Responses (filed

          with the Court today), 2 and the outside independent IT expert has



1 Plaintiffs mention that they do not have any emails from Mrs. Latham’s protonmail account,
but Mrs. Latham’s protonmail account is no longer active, and she does not have access to
that account. Additionally, Plaintiffs complain that Mrs. Latham did not produce any photos
from January 7, 2021, but Plaintiffs neglect to tell the Court that Mrs. Latham testified in
her deposition that she replaced her cell phone in May 2021 and because she was not backed
up in iCloud, some information and photos may not have made the transition to the new
phone. In any event, we have confirmed that she does not have any photos from that day in
her possession now.
2   Specifically, searches were performed for the following names/terms:
      •   Audit


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  •   Forensic audit
  •   Dominion
  •   Sidney Powell
  •   sidney@federalappeals.com
  •   afrye@harveybinnall.com
  •   Paul Maggio
  •   Scott Hall
  •   magnolia64@protonmail.com
  •   SullivanStrickler
  •   Sullivan Strickler
  •   Misty Hampton
  •   Misty Martin
  •   Misty.hampton@coffeecounty-ga.gov
  •   Eric Chaney
  •   ericchaney80@gmail.com
  •   Doug Logan
  •   Jeff Lenberg
  •   Jim Nelson
  •   Jennifer Jackson
  •   Ed Voyles
  •   bevoyles@gmail.com
  •   Wendell Stone
  •   Robert Sinners
  •   rasinners@gmail.com
  •   RSinners@donaldtrump.com
  •   Stefanie Lambert
  •   Matthew McCullough
  •   Larry Nesmith
  •   Anthony Rowell
  •   Alex Cruce
  •   Rudy Giuliani
  •   Jenna Ellis
  •   Shawn Still
  •   Alex Kaufman
  •   Russell Ramsland
  •   Conan Hayes
  •   David Shafer
  •   Patrick Byrne
  •   Lin Wood
  •   Garland Favorito
  •   Mike Lindell
  •   Cyber Ninja




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       reviewed her text messages and Signal communications for those same

       terms. These reviews confirm that no additional communications or

       documents regarding the planning for or execution of SullivanStrickler’s

       activities in Coffee County on January 7, 2021 or any later activity by

       Doug Logan and/or Cyber Ninjas 3 exist in Mrs. Latham’s possession.

    5. This result is consistent with Plaintiffs’ own evidence. The 30(b)(6)

       representative, Dean Felicetti, testified that his understanding was the

       SullivanStrickler team was first connected with Ms. Latham on January

       7, 2021. See Doc. 1489, Ex. 2, at pp. 194, lines 21-22; p. 195, lines 1-2.

    6. These independent reviews and their results also confirm the truth of

       Mrs. Latham’s testimony that she simply could not have been and was

       not involved in the decision to have the Coffee County voting equipment

       reviewed by or forensically imaged by SullivanStrickler or anyone else,

       and she was not privy to the conversations or communications in which

       those decisions were apparently made.                 She did not spearhead or

       organize these efforts and, as a natural consequence of these actual facts,




3Mrs. Latham has no knowledge of Mr. Logan or Cyber Ninjas’ activities, and we are unaware
of any evidence, even as alleged by Plaintiffs, that connects her to these later visits by these
individuals. A news story improperly identified one of the persons entering the building at a
later date in 2021 with Doug Logan as Cathy Latham, but the person in the photo is not her.


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       she does not have any additional communications or documents about

       these activities. 4


                                     CONCLUSION


       For the reasons set forth in Mrs. Latham’s Motion to Quash, her Reply,

and herein, this Court should quash Plaintiffs’ subpoena and award attorney’s

fees and costs, as required by Rule 45, to Mrs. Latham. Additionally, this Court

should deny the Motion to Compel as moot, since no responsive material

exists. 5




4 Plaintiffs make much of Mr. Felicetti’s supposed testimony that Mrs. Latham was a key
point of contact for SullivanStrickler and that she supposedly gave direction to the
SullivanStrickler team. When that actual deposition testimony is reviewed, however, it is
Plaintiffs’ counsel who is making these statements and just getting Mr. Felicetti, who was
not present in Coffee County on January 7, 2021, to agree to them. See Doc. 1489, Ex. 3, p.
119, lines 4-15; p. 125, lines 11-22; p. 126, lines 1-2. Mr. Felicetti admits in his deposition
that he cannot identify Mrs. Latham. Id. at p, 126, lines 14-16. Clearly Mr. Felicetti lacks
any personal knowledge of these allegations, and no testimony has been produced from the
SullivanStrickler team members who were present to validate this hearsay allegation, which
Mrs. Latham denies.
5Mrs. Lathan asks the Court for additional time to respond to the Motion to Compel if it is
not quashed based upon these findings.


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Dated: September 25, 2022         Respectfully submitted,


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      RULE 7.1 CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

     I certify that the foregoing document was prepared using 13-point

Century Schoolbook font in compliance with Local Rule 5.1 (C)(3).



                                   /s/ Holly A. Pierson
                                   Holly A. Pierson
                                   Georgia Bar No. 579655




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                       CERTIFICATE OF SERVICE

      I certify that today I filed the foregoing RESPONSE TO COURT

REQUEST FOR INFORMATION via the Court’s CM/ECF system, which

automatically serves all counsel of record.



Dated: September 25, 2022

                                    /s/ Holly A. Pierson
                                    Holly A. Pierson
                                    Georgia Bar No. 579655




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